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                                                                                                              COUNTY CLERK
                                                                                                             DALLAS COUNTY



                                               CAUSE NO. CC-16-00252-A

              ROBERT JOHNSON,                                          IN THE COUNTY COURT AT LAW

                    Plaintiff,

              V.
                                                                               DALLAS COUNTY, TEXAS
              WALGREEN CO. D/B/A WALGREENS
              STORE #04459; WALGREENS
              CORPORATION D/B/A WALGREENS
              STORE #04459; WALGREENS BOOTS
              ALLIANCE, INC.; SURFCOMBER
              DUNCANVILLE Iv1ANAGEMENT,
              DUNCANVILLE    MANAGEMENT,
                      SURFCOMBER DUNCANVILLE
              L.L.C.; SURb'COMBER
              ASSOCIATES, L.L.C.,

                    Defendants.                                       COUNTY COURT
                                                                             COURT AT
                                                                                   AT LAW
                                                                                      LAWNO.
                                                                                          N0.


                                      PLAIN
                                      PLAINTIFF'S      ORIGINAL PETITION,
                                            11.b .14 S ORIGINAL PETITION,
                             JURY DEMAND, AND
                                          AND REQUEST
                                                 REQUEST FORFOR WRITI'EN
                                                                WRITTEN DISCOVERY


            TO THE
               TFE HONORABLE
                   HONORABLE JUDGE OF SAID COURT:

                       COMES NOW, Plaintiff Robert Johnson, and files this Original Petition, Jury Demand,

            and Request for Written Discovery against Defendants Walgreen Co. d/b/a Walgreens Store

            #04459, Walgreens Corporation d/b/a Walgreens Store #04459, Walgreens Boot Alliance, Inc.,

            Surfcomber Duncanville Management, Inc., and Surfcomber Duncanville Associates, L.L.C.,

            and for causes of action would respectfully show the Court as follows:

                                                               I.

                                               DISCOVERY-CONTROL PLAN

                       1.        Plaintiff intends to conduct discovery under Level 3 of Texas Rule of Civil

                            and aff'u-matively
            Procedure 190.4 and affirmatively pleads that this suit is not governed by the expedited action




            PLAINTIFF'S ORIGINAL
                        ORIGINAL PETITION,
                                 PETITION, JURY
                                           JURY DEMAND
                                                DEMAND                                                             C
            AND REQUEST
            AND REQUEST FOR
                          FOR WRITTEN DISCOVERY                                                PAGE 1 OF 13
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process in Texas Rule of Civil Procedure 169 because Plaintiffs seek monetary relief over

$100,000.

                                                II.
                                                II.

                                            RELIEF
                                            RELIEF

       2.      Pursuant to Texas Rule of Civil Procedure 47(c)(4), Plaintiffs seek monetary

relief over $200,000 but not more than $ 1,000.000.

                                               III.

                                           PARTIES
                                           PARTIES

       3.      Plaintiff, Robert Johnson, is an individual residing in Dallas County, Texas.

Pursuant to § 30.14 of the Texas Civil Practice and Remedies Code, Plaintiff states that the last

three digits of his social security number are 928, and the last three digits of his Texas driver's

license are 625.

       4.      Defendant, Walgreen Co., d/b/a Walgreens Store #04459 is a foreign corporation

doing business in the State of Texas, and may be served with process by serving its registered

agent Prentice Hall Corporation System at 211 E. 7th St., Ste. 620, Austin, Texas 78701-3218, or

wherever it can be found.

       5.      Defendant, Walgreens Corporation, d/b/a Walgreens Store # 04459 is a foreign

corporation doing business in the State of Texas, and may be served with process by serving its

                                                     7th St., Ste. 620, Austin, Texas 78701-
President Prentice Hall Corporation System at 211 E. 7`h

3218, or wherever it can be found.

       6.      Defendant, Walgreens Boots Alliance, Inc., is a Delaware Corporation doing

business in the State of Texas. Defendant is required by Tex. Bus. Orgs. Code. § 5.201 to

designate or maintain a resident agent in this State for service of process and has not designated



PLAINTIFF'S
PLAINTIFF'SORIGINAL
            ORIGINALPETITION,
                     PETITION,JURY
                                JURY
                                   DEMAND
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AND REQUEST
    REQUESTFORFORWRITTEN
                  WRITTENDISCOVERY
                           DISCOVERY                                                 PAGE
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     such agent. See
                 See Tex. Civ. Prac. & Rem. Code § 17.044(a)(1). Specifically, Defendant is a non-

     resident foreign corporation, engaged in business in Texas, that does not maintain a regular place

     of business in Texas, that has not designated a registered agent for service of process, and the

                                 Defendant's business
     present lawsuit arises from Defendant's business 'in
                                                       in Texas. See
                                                                 See Tex. Civ. Prac. & Rem. Code

     §17.044(b).
     § 17.044(b).Therefore,
                 Therefore, the
                             the Texas
                                 Texas Secretary
                                       Secretary of
                                                 of State
                                                    State is
                                                           is the
                                                               the agent
                                                                   agent for
                                                                         for service
                                                                             service of
                                                                                     of process
                                                                                        process for the

     Defendant. Tex. Civ. Prac.
                          Prac: & Rem. Code 17.044. The Texas Secretary of State may serve

     process on Defendant by serving the President James A. Skinner at the home office located at

     104 Wilmot Rd., Deerfield, IL 60015, or wherever he can be found.

            7.      Defendant, Surfcomber Duncanville Management, L.L.C., is a foreign corporation
                                      r


     doing business in the State of Texas. Defendant is required by Tex. Bus. Orgs. Code. § 5.201 to

     designate or maintain a resident agent in this State for service of process and has not designated

     such agent. See
                 See Tex. Civ. Prac. & Rem. Code § 17.044(a)(1). Specifically, Defendant is a non-

     resident foreign corporation, engaged in business in Texas, that does not maintain a regular place

     of business in Texas, that has not designated a registered agent for service of process, and the

                                                                See Tex. Civ. Prac. & Rem. Code
     present lawsuit arises from Defendant's business in Texas. See

     §17.044(b).
     § 17.044(b).Therefore,
                 Therefore, the
                             the Texas
                                 Texas Secretary
                                       Secretary of
                                                 of State
                                                    State is
                                                           is the
                                                               the agent
                                                                   agent for
                                                                         for service
                                                                             service of
                                                                                     of process
                                                                                        process for the

     Defendant. Tex. Civ. Prac. & Rem. Code § 17.044. The Texas Secretary of State may serve

     process on Defendant by serving the President Steven Mirmelli at his home address, 340 W.

     Flagler St. Apt. 209, Miami, Florida 33130, or wherever he can be found.

            8.      Defendant, Surfcomber Duncanville Associates, L.L.C., is aa foreign
                                                                                foreign corporation
                                                                                        corporation

     doing business in the State of Texas. Defendant
                                           Defendant is
                                                     is required
                                                        required by Tex. Bus.
                                                                 by Tex. Bus. Orgs.
                                                                              Orgs. Code.
                                                                                    Code. §§ 5.201
                                                                                             5.201 to

     designate or maintain a resident agent in this State for service of process and has not designated

                 See Tex. Civ. Prac. & Rem. Code § 17.044(a)(1). Specifically, Defendant is a non-
     such agent. See



     PLAINTIFF'S ORIGINAL
     PLAINTIFF'S ORIGINAL PETITION,
                          PETITION, JURY
                                     JURY DEMAND
                                          DEMAND
     AND REQUEST
     AND REQUEST FOR WRITTEN DISCOVERY                                                   PAGE
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resident foreign corporation, engaged in business in Texas, that does not maintain a regular place

of business in Texas, that has not designated a registered agent for service of process, and the

present lawsuit arises from Defendant's business in Texas. See Tex. Civ. Prac. & Rem. Code

§17.044(b).
§ 17.044(b).Therefore,
            Therefore, the
                        the Texas
                            Texas Secretary
                                  Secretary of
                                            6f State
                                               State is
                                                      is the
                                                         the agent
                                                             agent for
                                                                   for service
                                                                       service of process for the

Defendant. Tex. Civ. Prac. & Rem. Code § 17.044. The Texas Secretary of State may serve

process on Defendant
           Defendant by
                     by serving
                        serving the.
                                 the President Steven
                                               .StevenMirmelli
                                                      Mirmelli at
                                                               at his
                                                                  his home
                                                                      home address,
                                                                           address, 340 W.

Flagler St. Apt. 209, Miami, Florida 33130, or wherever he can be found.

                                                 IV.

                                   MISNOMER/ALTER EGO

       9.      In the event any parties are misnamed or are not included herein, it is Plaintiff's

contention that such was aa"misidentification,"
                           "misidentification," "misnomer,"
                                                "misnomer," and/or such parties are/were "alter

egos" of parties named herein. Alternatively, Plaintiffs contend that any such "corporate veils"

should be pierced to include such parties in this action in the interest of Justice.

                                                  V.

                                          JURISDICTION

       10.     The Court maintains subject-matter jurisdiction over this action because the

amount in controversy exceeds the minimum jurisdictional requirements of this Court. This

Court has personal jurisdiction over the Defendants because they do business in Texas, own or

lease property in Texas, recruit(s) employees in Texas, and/or have committed a tort in Texas

within the meaning of the Texas Long-Arm Statute as codified in § 17.042 of the Tex. Civ. Prac.

& Rem. Code. The Defendants have minimum contacts with the State of Texas and exercising

personal jurisdiction over the Defendants would not offend traditional
                                                           traditional notions
                                                                       notions of
                                                                               of fair -play and
                                                                                  fair-play

substantial justice. See Int'l Shoe
                               Shoe Co.
                                    Co. v.
                                        v. Washington,
                                           Washington,326 U.S. 310, 316 (1945).



                               JURY DEMAND
PLAINTIFF'S ORIGINAL PETITION, .TURY DEMAND                -
AND REQUEST
AND REQUEST FOR WRITTEN DISCOVERY                                                      PAGE 4 OF 13
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                                               VI.

                                             VENUE

       11.
       11.     Venue is proper in Dallas County under Tex. Civ. Prac. & Rem. Code

§15.002(a)(1) because all or a substantial part of the events or omissions giving rise to the claim

occurred in Dallas County, Texas. Further, venue is proper in Dallas County as to all Defendants

under Tex. Civ. Prac. & Rem. Code § 15.005.

                                               VII.

                                   VICARIOUS LIABILITY

       12.
       12.     At all times mentioned herein and relevant to this action, all agents, assignees,

servants, and/or employees of Defendants were acting within the course and scope of their

employment or official duties and in furtherance of the duties of their employment. Thus,

Defendants are responsible for all damages resulting from the negligent acts and/or omissions of

its agents, assignees, servants, and/or employees under the Doctrine of Respondeat
                                                                        RespondeatSuperior.
                                                                                   Superior.

                                              VIII.

                                             FACTS

       13.
       13.     On or about February 11, 2014, Plaintiff Robert Johnson (Johnson) was an invitee

on the premises of 8120 S. Cockrell Hill Rd, Dallas, TX 75236 for the economic benefit of

Defendants, collectively. At this address Defendants Walgreen Co. d/b/a Walgreens Store

#04459 (Walgreen Co.), Walgreens Corp. d/b/a Walgreens Store #04459 (Walgreens Corp.), and
404459

Walgreens Boots Alliance, Inc. (Walgreens Boots) owned and operated, for profit, a Walgreens

Drug Store. Further, Defendants Surfcomber Duncanville Management, LLC (Surfcomber

Management) and Surfcomber Duncanville Associates, LLC (Surfcomber Associates) owned

and operated, for profit, the shopping center in which Walgreens Store # 04459 is located.



PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND
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             14.        At the time of the incident on February 11, 2014, Defendants Walgreen Co.,

    Walgreens Corp., and Walgreens Boots, through their employees, agents, assigns, and

    representatives, created a dangerous condition on the premises by placing foreign material,

    specifically cat litter, onto the sidewalks and access-points outside and surrounding Walgreens

    Store # 04459. .This
                   This foreign
                         foreign material
                                 material became soggy, slippery, and,
                                                                  and accumulated
                                                                       accumulated with
                                                                                   with other
                                                                                        other dirt

    and material to create an unreasonably dangerous condition. Further, at the time of the incident,

    Defendants Walgreen Co., Walgreens Corp., and Walgreens Boots, through its employees,

    agents, assigns, and representatives, failed to remove or make safe this accumulation of cat litter

    and foreign matter, thus, allowing an unreasonably dangerous condition to exist on the premises.

    Additionally, Defendants Walgreen Co., Walgreens Corp., and Walgreens Boots, through its

    employees, agents, assigns, and representatives, failed to warn Mr. Johnson of this unreasonably

    dangerous condition on the premises.

             15.        At the time of the incident on February 11, 2014, Defendants Surfcomber

    Management and Surfcomber Associates, their employees, agents, assigns, and representatives,

    failed to remove or make safe the accumulation of cat litter and foreign matter, thus, allowing an

    unreasonably dangerous condition to exist on the premises. Additionally, Defendants Surfcomber

    Management and Surfcomber Associates, their employees, agents, assigns, and representatives

                       Johnson of
    failed to warn Mr. Johnson of this
                                  this unreasonably
                                       unreasonably da.ngerous
                                                    dangerous condition
                                                               conditiori on the premises.

             16.        Defendants, collectively, knew or in the exercise of reasonable care should have

    known about the unreasonably dangerous accumulation on the property. Further, should
    known-

    Defendants, collectively, claim they have no actual knowledge of the condition, the unreasonably

    dangerous condition existed for a sufficient period of time for Defendants, collectively, to have

    discovered its presence had Defendants, collectively, exercised reasonable care. Defendants,



    PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND
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      collectively, failed to make any attempts to warn Mr. Johnson of the unreasonably dangerous

      condition or make the premises safe.

              17.     As a result of the Defendants', collectively, negligence, Mr. Johnson slipped in

      the unreasonably dangerous condition, fell, and sustained serious bodily injuries to his neck and

      back.

                                                     IX.

                    CAUSES OF
                    CAUSES OF ACTION
                              ACTIONAGAINST
                                     AGAINSTDEFENDANTS
                                             DEFENDANTS WALGREEN
                                                       WALGREEN   CO.,
                                                                CO.,
                            WALGREENS  CORP.,WALGREENS
                            WALGREENS CORP.,  WALGREENS BOOTS
                                                       BOOTS

      A.      Premises Liability
              Premises Liability

              18.     While on Defendants Walgreen Co., Walgreens Corp., and Walgreens Boots

      premises, Mr. Johnson suffered serious bodily injuries as a direct result of a fall proximately

                                                                   premises' which Defendant knew
      caused by an unreasonably dangerous condition of Defendants' premises,

      or, in the exercise of ordinary care, should have known existed. Further, Defendants Walgreen

      Co., Walgreens Corp., and Walgreens Boots, through their employees, agents, assigns, and

      representatives, on February 11, 2014, placed the cat litter which caused the unreasonably

      dangerous condition.

              19.     Defendant negligently allowed the premises to become dangerous, negligently

      permitted such condition to exist, and negligently informed Mr. Johnson that it was safe to enter

      the premises, despite the fact that Defendant knew, or in the exercise of ordinary care, should

      have known of the existence of a unreasonably dangerous condition, a condition with a

      likelihood of injuring invitees to the premises, such as Mr. Johnson. Mr. Johnson further alleges

      that the condition of the premises had continued for such a period of time that it would have been

      removed if Defendants had exercised ordinary care in the maintenance of the premises.




      PLAINTIFF'SORIGINAL
      PLAINTIFF'S ORIGINAL PETITION,
                          PETITION,   JURY
                                    JURY   DEMAND
                                         DEMAND
      AND REQUEST  FORWRITTEN
          REQUEST FOR  WRITTEN   DISCOVERY
                                DISCOVERY                                                 PAGE
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B.         Negligence
           Neglijzence

           20.     On the .occasion
                            occasionininquestion,
                                         question;Defendants
                                                  DefendantsWalgreen
                                                             Walgreen Co.,
                                                                      Co., Walgreens
                                                                           Walgreens Corp., and

Walgreens Boots were guilty of negligence in the following respects:

           a.      in placing cat litter on the sidewalk, walkways, and access points of the premises;

           b.      in failing to maintain the premises
                                              premises in
                                                       in aa rea.sonably
                                                             reasonably safe condition;

           c..
           C. .    in failing
                   iri failing to
                               to warn
                                  warn Mr. Johnson of the extremely dangerous condition of the

                   premises;

           d
           d.      in permitting the sidewalk, walkways, and access points of Defendants' premises

                   to remain dangerously littered with cat litter and accumulated foreign material;

           e.      in continuing to permit invitees on Defendants' premises even after being on

                   notice of the unreasonably dangerous condition of the premises; and

           f.      in informing Mr. Johnson it was safe to enter the premises even though

                   Defendants knew that the premises were unreasonably dangerous.

           21.     Each of the foregoing negligent acts and omissions whether taken singularly or in

any combination were a proximate cause of Plaintiffs' injuries and damages herein alleged.

                                                    X.
                                                    0

                       CAUSES OF
                       CAUSES OFACTION
                                 ACTIONAGAINST
                                        AGAINSTDEFENDANTS
                                                DEFENDANTS
                SURFCOMBER MANAGEMENTAND
                SURFCOMBER MANAGEMENT   AND SURFCOMBER
                                           SURFCOMBER   ASSOCIATES
                                                      ASSOCIATES

A.         PremisesLiability
           Premises Liability

           22.     While on Defendants Surfcomber Management and Surfcomber Associates

premises, Mr. Johnson suffered serious bodily injuries as a direct result of a fall proximately

caused by an unreasonably dangerous condition of Defendants' premises which Defendant knew

or, in the exercise of ordinary care, should have known existed.




PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND
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               23.   Defendants negligently allowed the premises to become dangerous, negligently
                                                                                                           ,


    permitted such condition to exist, and negligently informed Mr. Johnson that it was safe to enter

    the premises, despite the fact that Defendant knew, or in the exercise of ordinary care, should

    have known of the existence of a unreasonably dangerous condition, a condition with a

    likelihood of injuring invitees to the
                                       the premises,
                                           premises, such
                                                     such as
                                                          as Mr.
                                                             Mr. Johnson.
                                                                 Johnson. Mr.
                                                                          Mr. Johinson
                                                                               Johnson further alleges
                                                                                               alleges.
                                                                                                           ~

    that the condition of the premises had continued
                                           continued for.
                                                     for such
                                                          such aa period
                                                                  period of time that it would have been

    removed if Defendants had exercised
                              exercised ordinary
                                        ordinary care
                                                 care in,
                                                       in the maintenance of the premises.

    B.         Negligence

               24.   On the occasion in question, Defendants Surfcomber Management and

    Surfcomber Associates were guilty of negligence in the following respects:

               a.    in failing to maintain the premises in a reasonably safe condition;

               b.    in failing to warn Mr. Johnson of the extremely dangerous condition of the

                     premises;

               C.
               c.    in permitting the sidewalk, walkways, and access points of Defendants' premises

                     to remain dangerously littered with cat litter and accumulated foreign material;

               d.                            invitees on
                     in continuing to permit invitees on Defenda.nts'
                                                         Defendants' premises
                                                                      premises even after being on

                     notice of the unreasonably dangerous condition of the premises; and

               e.    in informing Mr. Johnson it was safe to enter the premises even though

                     Defendants knew that the premises were unreasonably dangerous.

               25.   Each of the foregoing negligent acts and omissions whether taken singularly or in

    any combination were a proximate cause of Plaintiffs' injuries and damages herein alleged.




    PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND
    AND REQUEST FOR WRITTEN DISCOVERY                                                      PAGE 9 OF 13
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                                                        XI.

                            ALTERNATIVE CLAIMS FOR RELIEF AUTHORIZED

                26.    Plaintiff intends to exercise his right to plead multiple causes of action in

                 Original Petition and invoke the right of disparate pleadings set out in Texas Rule of
     Plaintiffs' Original

     Civil Procedure 48. Where in this pleading or any Supplemental or Amended Pleading the

     statements of claim vary, they are to be construed as alternative claims for relief. No claim for

     relief shall be construed as waived or abandoned where it is otherwise contradicted in whole or

     in part in another portion of Plaintiff's pleadings.

                                                        XII.

                                  • PROXIMATE CAUSE OF DAMAGES

                27.    The damages listed below were in whole or in part proximately caused by the

     negligent acts a.nd/or
                    and/or omissions
                            omissions committed
                                      committed by Defendants.

                                                       XIII.

                                                    DAMAGES

                28.    Plaintiff, Robert Johnson, suffered, as a proximate and direct result of the

     wrongful actions and/or omissions of the Defendants in this matter each of the following

     damages:
            I
                a. Medical expenses in the past, which were reasonable and necessary when incurred or

                obtained;

                b. Medical expenses which, in reasonable probability, will be sustained in the future;

                c. Mental anguish in the past;

                d. Mental anguish which, in reasonable probability, will be sustained in the future;

                e. Physical pain in the past;

                f. Physical pain which, in reasonably probability, will be sustained in the future;

     PLAINTIFF'S ORIGINAL PETITION,
                          PETITION, dURY
                                    JURY DEMAND
     AND REQUEST FOR WRITTEN DISCOVERY                                                                   13
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              g. Physical impairment in the past; and

              h. Physical impairment which, in reasonably probability, will be sustained in the future;

              29:    The precise amount of Plaintiffs' damages are unknown at this time, but that said,

    damages are within the jurisdictional limits of this Court, and, upon Trial, Plaintiff should be

    awarded fair and reasonable damages as determined by the Jury.

                                                      XIV.

                        PRE-JUDGMENT AND POST-JUDGMENT
                                         POST-JUDGMENT INTEREST

              30.    Plaintiff states he is entitled to the award of pre
                                                                     pre judgment
                                                                         judgment and
                                                                                  and post-judgment
                                                                                      post judgment

    interest in accordance with law and equity as part of his damages herein, and Plaintiff sues for

    recovery of pre-judgment
                pre judgment and post-judgment interest as required by law.

                                                        XV.

                                       CONDITIONS PRECEDENT

              31.    Plaintiff states that all conditions precedent to filing this suit have been met.

                                                      XVI.

                                NOTICE OF USE OF U.S. LIFE TABLES

              32.    Plaintiff hereby notifies the Defendants of his intent to utilize in the Trial of this

    cause the United States Life Tables as published by the United States Department of Health and

    Human Services.

                                                     XVII.

                                               JURY DEMAND

              33.    Plaintiff hereby demands a Trial by Jury on all issues herein and tender the

    appropriate Jury fee with this petition.




    PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND
    AND REQUEST FOR WRITTEN DISCOVERY                                                         PAGE 11 OF 13
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                                                    XVIII.

                             OBJECTION TO ASSOCIATE JUDGE

        34.
        34.      Plaintiffs object to the referral of this cause
                                                           cause to
                                                                 to an
                                                                    an associate
                                                                       associate judge
                                                                                 judge .for
                                                                                        for hearing a

trial on the merits or presiding at a jury trial.

                                                    XIV.

                                OBJECTION TO VISTING JUDGE

        35.
        35.      Plaintiff objects to the referral of this cause to a visiting judge for the hearing of

any matter related to this cause, hearing a trial on the merits, or presiding at a jury trial.

                                                     XV.

                REQUEST FOR DISCLOSURE AND WRITTEN DISCOVERY

        36.
        36.      Under Texas Rule of Civil Procedure 194, Plaintiff requests that Defendants,

collectively, disclose, within fifty (50) days of the service of this request, the information or

material described in Texas Rules of Civil Procedure 194.2 (a) through (1).

        37.
        37.      Also included with this Original Petition
                                                  Petition are the following written discovery

requests which Defendant must respond to within fifty (50) days:

              ➢
              â Plaintiff's First Set of Interrogatories to Defendant Walgreen Co.
              ➢
              â Plaintiff's First Set of Interrogatories to Defendant Walgreens Corp.
              ➢
              â Plaintiff's First Set of Interrogatories to Defendant Walgreens Boots
                                                             (~
              ➢
              â Plaintiff's First Set of Interrogatories to Defendant Surfcomber Management
              ➢
              â Plaintiff's First Set of Interrogatories to Defendant Surfcomber Associates
              ➢
              â Plaintiff's First Request for Production to Defendant Walgreen Co.
              ➢
              â Plaintiff's First Request for Production to Defendant Walgreen Corp.
              ➢
              â Plaintiff's First Request for Production to Defendant Walgreens Boots
              ➢
              â Plaintiff's First Request for Production to Defendant Surfcomber Management
              ➢
              â Plaintiff's First Request for Production to Defendant Surfcomber Associates
              ➢
              â Plaintiff's First Request for Admissions to Defendant Walgreen Co.


PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND
AND REQUEST FOR WRITTEN DISCOVERY                                                        PAGE 12 OF 13
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                    â Plaintiff's
                       Plaintiff First
                                  s First
                                       Request
                                          Request
                                               forfor
                                                   Admissions
                                                      Admissions
                                                              to Defendant
                                                                 to Defendant
                                                                           Walgreens
                                                                              Walgreens
                                                                                     Corp.
                                                                                        Corp.
                    >
                    â Plaintiffs
                       PlaintiffFirst
                                 s First
                                      Request
                                         Request
                                              for for
                                                   Admissions
                                                      Admissions
                                                              to Defendant
                                                                 to Defendant
                                                                           Walgreens
                                                                              Walgreens
                                                                                     Boots
                                                                                        Boots
                    >
                    â Plaintiffs
                       Plaintiff's
                                 First
                                    First
                                       Request
                                          Request
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                                                                           Surfcomber
                                                                               Surfcomber
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                    >
                    â Plaintiffs
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                                 s First      for for
                                         Request   Admissions to Defendant
                                                      Admissions           Surfcomber
                                                                 to Defendant         Associates
                                                                              Surfcomber  Associates
                                                        XVI.

                                                      PRAYER
                                                      PRAYER

                WHEREFORE,
                WHEREFORE,PREMISES
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                                                              A.JONES
                                                                 JONES
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                                                       State Bar
                                                             BarNo.
                                                                 No.24077910
                                                                     24077910
                                                       ajones@sawickilawfinn.corn
                                                       ai onesgsawickilawfirm. com
                                                       4040 N. Central
                                                                CentralExpressway,
                                                                        Expressway,Ste.
                                                                                    Ste.850
                                                                                         850
                                                       Dallas,
                                                       Dallas, Texas
                                                               Texas75204
                                                                     75204
                                                       (214) 468-8844
                                                       (214) 468-8845 (Fax)
                                                                       (Fax)

                                                       ATTORNEYS
                                                       ATTORNEYSFOR
                                                                 FORPLAINTIFF
                                                                     PLAINTIFF




         PLAINTIFF'S ORIGINAL
         PLAINTIFF'S  ORIGINALPETITION,
                               PETITION,JURY DEMAND
                                          JURY DEMAND
         AND REQUEST
             REQUESTFORFORWRITTEN
                           WRITTEN DISCOVERY
                                     DISCOVERY                                                 PAGE
                                                                                               PAGE 13
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                                                                                                                                                                          JOHN F. WARREN
             Case 3:16-cv-00400-K Document      CIVIL CASE
                                                       1-3 INFORMATION
                                                           Filed 02/12/16 SHEET
                                                                             Page 14 of 37 PageID 24                                                                       COUNTY CLERK
                                                                                                                                                                          DALLAS COUNTY
           CAUSE NUMBER (FOR CLERK USE ONLY): CC-16-00252—A            COURT (FOR CLERK USE ONLY):
                                                           STYLED ROBERT JOHNSON v. WALGREEN CO ET AL
                                 (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)
 A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
 health case or when a post judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
 the time of filing.
1. Contact information for person completing case infortnation sheeg                       Names of parties in case:                          Poison or entity completing sheet is:
                                                                                                                                            DAttomey for Plaintiff/Petitioner
Name:                                          Email:                                      Plaintiff(s)/Petitioner(s):                      • Pro Se Plaintiff/Petitioner
Michael Sawicki                                msawicki(a/sawickilawfirm.com               Daniel Martinez                                  • Title 1V-D Agency
Andy Jones                                     aionesti#sawickilawfirm.com                                                                  00ther:
Address:                                       Telephone:                                  Defendant(s)/Respondent(s):
4040 N. Central Expwy Ste. 850                 214-468-8844                                                                                 Additional Parties in Child Support Case:
                                                                                           WALGREEN CO. D/B/A
                                               Fax:                                        WALGREENS STORE 404459;                          Custodial Parent:
City/State/Zip:                                214-468-8845                                WALGREENS CORPORATION
Dallas, TX 75204
                                                                                           D/B/A WALGREENS STORE
                                               State Bar No:                                                                                Non-Custodial Parent:
Si're..           itt                          Michael Sawicki 17692500                    #04459; WALGREENS BOOTS
                                               Andy Jones 24077910                         ALLIANCE, INC.; SURFCOMBER
    LASel ./                it!rw                                                          DUNCANVILLE                                      Presumed Father:
                                                                                           MANAGEMENT, L.L.C.;
                                                                                           SURFCOMBER DUNCANVILLE
          /                                                                                ASSOCIATES, L.L.C.,

                                                                                  (Attach additional page as necessary to list MI parties
2. Indicate ease type, or identif the most im I ortant issue in the case (select only 1):
                                                      Civil                                                                                   Fan ily Law
                                                                                                                                                        Post-judgment Actions
          Contract                              Injury or Damage                         Real Property                   Marriage Relationship             (non-Title IV-D)
Debt/Contract                            • Assault/Battery                        Ill Eminent Domain/                    DAnnulment                   ❑ Enforcement
  • Consumer/DTPA                        • Construction                               Condemnation                       • Declare Marriage Void      ❑ Modification—Custody
  • Debt/Contract                        III Defamation                           M Partition                            Divorce                      • Modification—Other
  • Fraud/Misrepresentation              Malpractice                              II Quiet Title                           M With Children
  • Other Debt/Contract:                   ['Accounting                           OTrespass to Try Title                   ON0 Children              M Enforcement/Modification
                                            • egal                                II Other Property:                                                 • Paternity
Foreclosure                                 • Medical                                                                                                ❑
                                                                                                                                                     ['Reciprocals (UIFSA)
   II Home Equity—Expedited                 ■• Other Professional                                                                                    • Support Order
   • Other Foreclosure                         Liability:
111Franchise                                                                         Related to Criminal
 M Insurance                                   tor Vehicle Accident                        Matters                          Other Family Law              Parent-Child Relationship
• Landlord/Tenant                            remises                              E Expunction                           • Enforce Foreign              DAdoption/Adoption with
• Non-Competition                        Product Liability                        DJudgment Nisi                            Judgment                       Termination
['Partnership                              • Asbestos/Silica                      E Non-Disclosure                       M Habeas Corpus                • Child Protection
DOther Contract:                           • Other Product Liability              • Seizure/Forfeiture                   111Name Change                 • Child Support
                                               List Product:                      • Writ of Habeas Corpus—               • Protective Order              • Custody or Visitation
                                                                                    Pre-indictment                       • Removal of Disabilities      M Gestational Parenting
                                         NI Other Injury or Damage;               E Other:                                  of Minority                 OGrandparent Access
                                                                                                                         ['Other:                       DParentage/Patemity
                                                                                                                                                        ['Termination of Parental
':       Employment                                                    Other Civil '                                                                       Rights
                                                                                                                                                        DOther Parent-Child:
• Discrimination                          • Administrative Appeal             • Lawyer Discipline
• Retaliation                             • Antitrust/Unfair                  • Perpetuate Testimony
• Termination                               Competition                       DSecurities/Stock
• Workers' Compensation                   MI Code Violations                  ETortious Interference
DOther Employment:                        • Foreign Judgment                  • Other:
                                          M Intellectual Property

             Tax                                                                                  Probate & Mental Health
 ❑ Tax Appraisal                          Probate/Wills/Intestate Administration                            •Guardianship—Adult
 M Tax Delinquency                          M Dependent Administration                                      • Guardianship—Minor
 E Other Tax                                DIndependent Administration                                     • Mental Health
                                            DOther Estate Proceedings                                       • Other:

3. Indicate procedure or remedy if applicable (mays lect more than 1):
  • Appeal from Municipal or Justice Court                   • Declaratory Judgment                               DPrejudgment Remedy
 11 Arbitration-related                                      OGamishment                                          IN Protective Order
  • Attachment                                               DInterpleader                                        • Receiver
 OBill of Review                                             ❑ License                                            • Sequestration
 CICertiorari                                                ['Mandamus                                           IITemporary Restraining Order/Injunction
 DClass Action                                               ❑ Post-judgment                                      11 Turnover
4, Indicate damages sought (do not select lf it is a fano ly law case):
 ['Less than $100,000, including damages of any kind, enalties, costs, expenses, pre-judgment interest, and attorney fees
  II Less than $100,000 and non-monetary relief
 _]Aver $100, 000 but not more than $200,000
      ver $200,000 but not more than $1,000,000
                                 Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                               Page 15 of 37 PageID 25
                                                                                                                                           ATTORNEY
                                 THE STATE OF TEXAS                                                                                        CITATION
                                    CITATION                                                                                   PLAINTIFF'S ORIGINAL PETITION,
                                                                                                                               JURY DEMAND, AND REQUEST FOR
                                   CAUSE NO. CC-16-00252-A
                                                                                                                                    WRITTEN DISCOVERY
                                 COUNTY COURT AT LAW NO. 1
                                      Dallas County, Texas                                                                                CC-16-00252-A

TO:                                                                                                                              IN 771E COUNTY COURT OF DALLAS
           SURFCOMBER DUNCANVILLE ASSOCIATES, LLC                                                                                      County Court at Law No. I
           SERVE THROUGH SECRETARY OF STATE, STATE OF                                                                                   Dallas County, Texas
           TEXAS
           PO BOX 12079 CITATION UNIT                                                                                               ROBERT JOHNSON, naine(s)
           AUSTIN TX 78711
                                                                                   "You have been sued. You may employ                           VS.
       an attorney. If you or your Attorney do not file a WRITTEN ANSWER with the clerk who issued this citation by 10:00
                                                                                                                                 WALGRF,EN CO. DBA WALGREENS STORE
       A.M. on the Monday next following the expiration of twenty days after you were served this citation and PLAINTIFFS        #04459; WALGREENS CORPORATION DBA
       ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY, a default judgment may be                              WALGREENS STORE #04459; WALGREENS
       taken against you." Your answer should be addressed to the clerk of County Court at Law No. 1 of Dallas County,            BOOTS ALLIANCE INC.; SURFCOMBER
       Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                               DUNCANVILLE. MANAGEMENT LW;
                                                                                                                                SURFCOMBER DUNCANVILLE AtvnrIATES,
                                                                                                                                           LLC, Defendants)

                                                                                                                               SERVE:
                                                ROBERT JOHNSON
                                                                                                                                  SURFCOMBER DUNCANVILLE
                                                     Plaintiff(s)
                                                                                                                                        ASSOCIATES, LLC
                                                                                                                                 SERVE THROUGH SECRETARY OF
                                                        VS.                                                                         STATE, STATE OF TEXAS
                                                                                                                                   PO BOX 12079 CITATION UNIT
        WALGREEN CO. DBA WALGREENS STORE #04459; WALGREENS CORPORATION DBA                                                              AUSTIN TX 78711
         WALGREENS STORE #04459; WALGREENS BOOTS ALLIANCE INC.; SURFCOMBER
       DUNCANVILLE MANAGEMENT LLC; SURFCOMBER DUNCANVILLE ASSOCIATES, LLC                                                                   ISSUED THIS
                                                    Defendant(s)                                                                      20th day of January, 2016
       filed in said Court on the 19th day of January, 20I6a copy of which accompanies this citation.                                John F. Warren, County Clerk
                                                                                                                                     By: Guisla Hernandez, Deputy
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 20th day of January, 2016 A.D.                                         Attorney for Plaintiff
                                                                                                                                    MICHAEL GEORGE SAWICKI
       JOHN F. WARREN, Dallas County Clerk                                                                                               SAWICK LAW
                                                                                                                                    4040 N CENTRAL EXPWY
                                                                                                                                            SUITE 850
            gwitt 79                                                            .4‘
                                                                                           CC     - 00252 - A
                                                                                                                                       DALLAS TX 75204
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                Cluisla Hernandez
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                                   Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16             Page 16 of 37 PageID 26
                                                                           OFFICER'S RETURN

CC-16.00252-A County Court at Law No. I

ROBERT JOHNSON vs.WALGREEN CO. DBA WALGREENS STORE #04459, WALGREENS CORPORATION DBA WALGREENS STORE #04459, WALGREENS
BOOTS ALLIANCE INC..et al

ADDRESS FOR SERVICE:
SERVE THROUGH SECRETARY OF STATE, STATE OF TEXAS
PO BOX 12079 CITATION UNIT
AUSTIN TX 78711

Fees:
Came to hand on the   day of            , 20       at        o'clock         .m. and executed in                  County, Texas by delivering to
SURFCOMBER DUNCANVILLE ASSOCIATES, LLC in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS ORIGINAL
PETITION, JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY with the date and service at the following times and places to-wit:

Name                                                   Date/Time                       Place, Course and Distance from Courthouse



And not executed as to the defendant(s),

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:


                                               Serving Petition and Copy         $                                             Officer

                                               Total $                                                                , County, Texas

                                                                                       By:                                   , Deputy

                                                                                                                             , Affiant
                                 Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                     Page 17 of 37 PageID 27
                                                                                                                                       ATTORNEY
                                 THE STATE OF TEXAS                                                                                    CITATION
                                     CITATION                                                                              PLAINTIFF'S ORIGINAL PETITION,
                                                                                                                           JURY DEMAND, AND REQUEST FOR
                                   CAUSE NO. CC-16-00252-A
                                                                                                                                WRITTEN DISCOVERY
                                 COUNTY COURT AT LAW NO. I
                                      Dallas County, Texas                                                                          CC-16-00252-A

TO:                                                                                                                          IN THE COUNTY COURT OF DALLAS
        SURFCOMBER DUNCANVILLE MANAGEMENT LLC                                                                                     County Court at Law No. I
        SERVE THROUGH SECRETARY OF STATE, STATE OF                                                                                 Dallas County, Texas
        TEXAS
        PO BOX 12079 CITATION UNIT                                                                                              ROBERT JOHNSON, Plaintiffs)
        AUSTIN TX 78711
                                                                                 "You have been sued. You may employ                         VS.
      an attorney. If you or your Attorney do not file a WRITTEN ANSWER with the clerk who issued this citation by 10:00
                                                                                                                             WALGREEN CO. DBA WALGREENS STORE
      A.M. on the Monday next following the expiration of twenty days after you were served this citation and PLAINTIFFS     #04459; WALGREENS CORPORATION DBA
      ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY, a default judgment may be                           WALGREENS STORE #04459; WALGREENS
      taken against you." Your answer should be addressed to the clerk of County Court at Law No. I of Dallas County,         BOOTS ALLIANCE INC.; SUM:COMBER
      Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                            DUNCANVILLE MANAGEMENT LLC;
                                                                                                                            SURFCOMBER DUNCANVILLE ASSOCIATES.
                                                                                                                                        LW,Defendant(s)

                                                                                                                           SERVE:
                                            ROBERT JOHNSON                                                                     SURFCOMBER DUNCANVILLE
                                               Plaintff(s)                                                                         MANAGEMENT LLC
                                                                                                                             SERVE THROUGH SECRETARY OF
                                                    VS.                                                                          STATE, STATE OF TEXAS
                                                                                                                               PO BOX 12079 CITATION UNIT
        WALGREEN CO. DBA WALGREENS STORE #04459; WALGREENS CORPORATION DBA                                                          AUSTIN TX 78711
          WALGREENS STORE #04459; WALGREENS BOOTS ALLIANCE INC.; SURFCOMBER
      DUNCANVILLE MANAGEMENT LLC; SURFCOMBER DUNCANVILLE ASSOCIATES, LW                                                                 ISSUED THIS
                                                    Defendant(s)                                                                  20th day of January, 2016
      filed in said Court on the 19th day of January, 2016a copy of which accompanies this citation.                             John F. Warren, County Clerk
                                                                                                                                 By: Guisla Hernandez, Deputy
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 20th day of January, 2016 A.D.                                    Attorney for Plaintiff
                                                                                                                               MICHAEL GEORGE SAWICKI
      JOHN F. WARREN, Dallas County Clerk                                                                                            SAWICK LAW
                                                                                                                                4040 N CENTRAL EXPWY
                                                                                                                                        SUITE 850
                       L1404                                                                                                       DALLAS TX 75204
      By                              Deputy                                        cc 10-613262-
                                                                                    rlcl                                              214-468-8844
           (iuisla I Icrnandez                                                      139Ut GilAIIOR
                                                                                    999863
                                   Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16             Page 18 of 37 PageID 28
                                                                           OFFICER'S RETURN

CC-I6.00252-A County Court at Law No. 1

ROBERT JOHNSON vs.WALGREEN CO. DBA WALGREENS STORE #04459, WALGREENS CORPORATION DBA WALGREENS STORE #04459, WALGREENS
BOOTS ALLIANCE INC..et al

ADDRESS FOR SERVICE:
SERVE THROUGH SECRETARY OF STATE, STATE OF TEXAS
PO BOX 12079 CITATION UNIT
AUSTIN TX 78711

Fees:
Came to hand on the    day of           , 20       , at     o'clock         a and executed in                     County, Texas by delivering to
SURFCOMBER DUNCANVILLE MANAGEMENT LLC in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS ORIGINAL
PETITION, JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY with the date and service at the following times and places to-wit:

Name                                                   Date/Time                       Place, Course and Distance from Courthouse



And not executed as to the defendant(s),

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:



                                               Serving Petition and Copy                                                     , Officer

                                               Total $                                                                , County, Texas

                                                                                       By:                                   , Deputy

                                                                                                                               Affiant
                               Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                        Page 19 of 37 PageID 29
                                                                                                                                         ATTORNEY
                               THE STATE OF TEXAS                                                                                    CITATION
                                                                                                                            PLAINTIFF'S ORIGINAL PETITION ,
                                  CITATION                                                                                  JURY DEMAND, AND REQUEST FOR
                                 CAUSE NO. CC-16-00252-A                                                                         WRITTEN DISCOVERY
                               COUNTY COURT AT LAW NO.
                                                                                                                                       CC-16-00252-A
                                    Dallas County, Texas
                                                                                                                             IN THE COUNTY COURT OF DALLAS
TO:                                                                                                                               County Court at Law No. I
           WALGREEN CO. DBA WALGREENS STORE #04459
                                                                                                                                   Dallas County, Texas
           SERVE ITS REGISTERED AGENT
           PRENTICE HALL CORPORATION SYSTEM
           211 E 7TH ST STE 620                                                                                                 ROBERT JOHNSON, Plalitilhts)
           AUSTIN TX 78701-3218                                                                                                               VS.
                                                                                  "You have been sued. You may employ
      an attorney. If you or your Attorney do not file a WRITTEN ANSWER with the clerk who issued this citation by 10:00     WALGREEN CO. DBA WALGREENS STORE
      A.M. on the Monday next following the expiration of twenty days after you were served this citation and PLAINTIFFS     #104459; WALGREENS CORPORATION DBA
      ORIGINAL PETITION , JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY, a default judgment may                             WALGREENS STORE ROMA WALGREENS
                                                                                                                              BOOTS ALLIANCE INC.; SURFCOMBER
      be taken against you." Your answer should be addressed to the clerk of County Court at Law No. 1 of Dallas County,       DUNCANVILLE MANAGEMENT LW;
      Texas at the Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                         SURFCOMBER DUNCANVILLE ASSOCIATES.
                                                                                                                                         LI.C, Defendant(s)

                                                                                                                           SERVE:
                                              ROBERT JOHNSON                                                                WALGREEN CO. DBA WALGREENS STORE
                                                 Plaintiff(s)                                                                              #04459
                                                                                                                               SERVE ITS REGISTERED AGENT
                                                                                                                            PRENTICE HALL CORPORATION SYSTEM
                                                     VS.                                                                            211E 7111 ST STE 620
                                                                                                                                   AUSTIN TX 787013218
       WALGREEN CO. DBA WALGREENS STORE #04459; WALGREENS CORPORATION DBA
          WALGREENS STORE #04459; WALGREENS BOOTS ALLIANCE INC.; SURFCOMBER                                                               ISSUED THIS
      DUNCANVILLE MANAGEMENT LW; SURFCOMBER DUNCANVILLE ASSOCIATES, LLC                                                             20th day of January, 2016
                                                    Defendant(s)
                                                                                                                                John F. Warren, County Clerk
      filed in said Court on the 19th day of January, 2016a copy of which accompanies this citation.                            By: Guisla Hernandez, Deputy
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                  Attorney for Plaintiff
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 20th day of January, 2016 A.D.                                MICHAEL GEORGE SAWICKI
      JOHN F. WARREN, Dallas County Clerk                                                                                            SAWICK LAW
                                                                                                                                4040 N CENTRAL EXPWY
                                                                                                                                       SUITE 850
                                                                                                                                   DALLAS TX 75204
                    /44404                             ' *vi                       CC • 6 00262 - A                                   214-468-8844
      By                             Deputy       1". I Vat...                     eICI
                                                     *1      r's
               Guisla Hernandez                   t        p..1";                   SSU C A ION
                                   Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16             Page 20 of 37 PageID 30
                                                                           OFFICER'S RETURN

CC-16-00252-A County Court at Law No. 1

ROBERT JOHNSON vs.WALGREEN CO. DBA WALGREENS STORE #04459, WALGREENS CORPORATION DBA WALGREENS STORE #04459, WALGREENS
BOOTS ALLIANCE INC..et al

ADDRESS FOR SERVICE:
SERVE ITS REGISTERED AGENT PRENTICE HALL CORPORATION SYSTEM
211 E 7TH ST STE 620
AUSTIN TX 78701-3218

Fees:
Came to hand on the     day of             , 20         , at       o'clock         .m. and executed in                 County, Texas by delivering to
WALGREEN CO. DBA WALGREENS
                     --         STORE #04459 in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFF'S ORIGINAL
PETITION , JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY with the date and service at the following times and places to-wit:

Name                                                   Date/Time                       Place, Course and Distance from Courthouse



And not executed as to the defendant(s),

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:


                                               Serving Petition and Copy         $                                            Officer

                                               Total $                                                                , County, Texas

                                                                                       By:                                   , Deputy

                                                                                                                             , Affiant
                                Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                        Page 21 of 37 PageID 31
                                                                                                                                          ATTORNEY
                                THE STATE OF TEXAS                                                                                        CITATION
                                                                                                                              PLAINTIFF'S ORIGINAL PETITION,
                                   CITATION                                                                                   JURY DEMAND, AND REQUEST FOR
                                  CAUSE NO. CC-16-00252-A
                                                                                                                                   WRITTEN DISCOVERY
                                COUNTY COURT AT LAW NO. I
                                     Dallas County, Texas                                                                               CC-16-00252-A

TO:                                                                                                                             IN THE COUNTY COURT OF DALLAS
        WALGREENS BOOTS ALLIANCE INC.                                                                                                 County Court at Law No. I
        SERVE THROUGH THE SECRETARY OF STATE STATE OF                                                                                 Dallas County, Texas
        TEXAS
        PO BOX 12079 CITATION UNIT                                                                                                 ROBERT JOHNSON. Plaintiffs)
        AUSTIN TX 78711
                                                                                                                                                VS.
      "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRITTEN ANSWER with
                                                                                                                                WALGREEN CO. DBA WALGREENS STORE
      the clerk who issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you     #04459: WALGREENS CORPORATION DBA
      were served this citation and PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR                                 WALGREENS STORE #04459: WALGREENS
      WRITTEN DISCOVERY, a default judgment may be taken against you." Your answer should be addressed to the clerk              BOOTS ALLIANCE INC.; SURFCOMBER
      of County Court at Law No. I of Dallas County, Texas at the Court House of said County, 600 Commerce Street, Suite          DUNCANVILLE MANAGEMENT LLC;
                                                                                                                               SURFCOMBER DUNCANVILLE AstcnCIATES.
      101, Dallas, Texas 75202.                                                                                                            LLC, Defendan(s)

                                                                                                                              SERVE:
                                                                                                                                WALGREENS BOOTS ALLIANCE INC.
                                              ROBERT JOHNSON                                                                   SERVE THROUGH THE SECRETARY OF
                                                 Plaintiffs)                                                                         STATE STATE OF TEXAS
                                                                                                                                  PO BOX 12079 CITATION UNIT
                                                        VS.                                                                             AUSTIN TX WI I

        WALGREEN CO. DBA WALGREENS STORE #04459; WALGREENS CORPORATION DBA                                                                  ISSUED THIS
          WALGREENS STORE #04459; WALGREENS BOOTS ALLIANCE INC.; SURFCOMBER                                                           20th day of January, 2016
      DUNCANVILLE MANAGEMENT LLC; SURFCOMBER DUNCANVILLE ASSOCIATES, LLC
                                                    Defendant(s)                                                                     John F. Warren, County Clerk
                                                                                                                                    By: Guisla Hernandez, Deputy
      filed in said Court on the 19th day of January, 20I6a copy of which accompanies this citation.
                                                                                                                                      Attorney for Plaintiff
      WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY
                                                                                                                                  MICHAEL GEORGE SAWICKI
      HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 20th day of January, 2016 A.D.
                                                                                                                                        SAWICK LAW
      JOHN FAVARREN, Dalla County Clerk                                                                                            4040 N CENTRAL EXPWY
                                                                                                                                           SUITE 850
                                                                                                                                      DALLAS TX 75204
                                                                                           CC IS 00252-A                                 214468-8844
      By                                        eputy                                      CICI
               Guisla Hemandez                                                             15501- G TAIIOM
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                                    Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16             Page 22 of 37 PageID 32
                                                                           OFFICER'S RETURN

CC-16-00252-A County Court at Law No. I

ROBERT JOHNSON vs.WALGREEN CO. DBA WALGREENS STORE #04459, WALGREENS CORPORATION DBA WALGREENS STORE #04459, WALGREENS
BOOTS ALLIANCE 1NC..et al

ADDRESS FOR SERVICE:
SERVE THROUGH THE SECRETARY OF STATE STATE OF TEXAS
PO BOX 12079 CITATION UNIT
AUSTIN TX 78711

Fees:
Came to hand on the   day of                 , 20          , at       o'clock        m. and executed in                 County, Texas by delivering to
WALGREENS BOOTS ALLIANCE INC. in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFF'S ORIGINAL PETITION, JURY
DEMAND, AND REQUEST FOR WRITTEN DISCOVERY with the date and service at the following times and places to-wit:

Name                                                   Date/Time                       Place, Course and Distance from Courthouse




And not executed as to the defendant(s),

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:



                                               Serving Petition and Copy         $                                             Officer

                                               Total $                                                                , County, Texas

                                                                                       By:                                   , Deputy

                                                                                                                             , Affiant
                                     Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                                   Page 23 of 37 PageID 33
                                                                                                                                                           ATTORNEY
                                    THE STATE OF TEXAS                                                                                                     CITATION
                                                                                                                                               PLAINTIFF'S ORIGINAL PETITION,
                                       CITATION                                                                                                JURY DEMAND, AND REQUEST FOR
                                       CAUSE NO. CC-16-00252-A
                                                                                                                                                    WRITTEN DISCOVERY
                                     COUNTY COURT AT LAW NO. 1
                                          Dallas County, Texas                                                                                           CC-16-00252-A

TO:                                                                                                                                              IN THE COUNTY COURT OF DALLAS
         WALCREENS CORPORATION DBA WALCREENS STORE #04459                                                                                              County Court at Law No. I
         SERVE ITS PRESIDENT AT PRENTICE HALL CORPORATION                                                                                              Dallas County, Texas
         SYSTEM
         211 E 7TH ST STE 620                                                                                                                       ROBERT JOHNSON, Plaintifirs)
         AUSTIN TX 78701-3218
                                                                                                                                                                VS.
       "You have been sued. You may employ an attorney. If you or your Attorney do not file a WRITTEN ANSWER with the clerk who                  WALGREEN CO. DBA WALGREENS STORE
       issued this citation by 10:00 A.M. on the Monday next following the expiration of twenty days after you were served this citation and     904459; WALGREENS CORPORATION DBA
       PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY, a default judgment may                                     WALGREENS STORE 804459; WALGREENS
       be taken against you." Your answer should be addressed to the clerk of County Court at I.aw No. I of Dallas County, Texas at the           BOOTS ALLIANCE INC.; SURFCOMBER
       Court House of said County, 600 Commerce Street, Suite 101, Dallas, Texas 75202.                                                            DUNCANVILLE MANAGEMENT LLC-
                                                                                                                                                SURFCOMBER DUNCANVILLE AccnCIATES.
                                                                                                                                                            LLC, Defendant(s)

                                                      ROBERT JOHNSON                                                                           SERVE:
                                                             Maindff(s)                                                                          WALGREENS CORPORATION DBA
                                                                                                                                                    WALGREENS STORE #04459
                                                       VS.                                                                                      SERVE ITS PRESIDENT AT PRENTICE
                                                                                                                                                  HALL CORPORATION SYSTEM
      WALGREEN CO. DBA WALGREENS STORE #04459; WALGREENS CORPORATION DBA WALGREENS                                                                     211 E 7TH ST STE 620
      STORE #04459; WALGREENS BOOTS ALLIANCE INC.; SURFCOMBER DUNCANVILLE MANAGEMENT                                                                  AUSTIN TX 78701-3218
                        LLC; SURFCOMBER DUNCANVILLE ASSOCIATES, LLC
                                                          Defendangs)                                                                                       ISSUED THIS
                                                                                                                                                      20th day of January, 2016
       filed in said Court on the 19th day of January, 2016a copy of which accompanies this citation.
                                                                                                                                                     John F. Warren, County Clot
       WITNESS: JOHN F. WARREN, Clerk of the County Courts of Dallas County, Texas. GIVEN UNDER MY                                                   By: Guisla Hernandez, Deputy
       HAND AND SEAL OF OFFICE, at Dallas, Texas, and issued this 20th day of January, 2016 A.D.
                                                                                                                                                        Attorney for Plaintiff
       JOHN F. WARREN, Dallas County Clerk                                                                                                          MICHAEL GEORGE SAWICKI
                                                                                                                                                         SAWICK LAW

 By   &a 44044                      Deputy                       ,
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          Guisla Hernandez                                                                                                                             DALLAS TX 75204
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                                    Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16             Page 24 of 37 PageID 34
                                                                           OFFICER'S RETURN

CC-I 6-00252-A County Court at Law No. I

ROBERT JOHNSON vs.WALGREEN CO. DBA WALGREENS STORE #04459, WALGREENS CORPORATION DBA WALGREENS STORE #04459, WALGREENS
BOOTS ALLIANCE INC..et al

ADDRESS FOR SERVICE:
SERVE ITS PRESIDENT AT PRENTICE HALL CORPORATION SYSTEM
211 E 7TH ST STE 620
AUSTIN TX 78701-3213

Fees:
Came to hand on the    day of            , 20      , at    o'clock      .m. and executed in                     County, Texas by delivering to
WALGREENS CORPORATION DBA WALGREENS STORE #04459 in person, a true copy of this Citation together with the accompanying copy of the PLAINTIFFS
ORIGINAL PETITION, JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY with the date and service at the following times and places to-wit:

Name                                                   Date/Time                       Place, Course and Distance from Courthouse



And not executed as to the defendant(s),

The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:


                                               Serving Petition and Copy                                                      Officer

                                               Total $                                                                , County, Texas

                                                                                       By:                                   , Deputy

                                                                                                                             , A ffiant
  Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                  Page 25 of 37 PageID 35


       Lawyers••
Trial Lawyers
4040N. Central
4040    CentralExpressway,
Dallas,Texas
Dallas,
Tet 214.468.8844
Tel 214.468.6944
TonFree
Tel
                Expressway,
          Texas75204
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ynny.sawickilawfum.com
www.sawickilawfarecom                       *    SAWICKI
                                                 LAW•                       Texas  Boardof
                                                                            Texas Board
                                                                                             Michael Sawicki
                                                                                           • Michael  Sawicki
                                                                                rnsawicki@sawiddlawfirm.cOrn
                                                                                rnsawicki@sawiddlawfirm.cOrn
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                                                                               ajones@sawickilawfirTn.com
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DallasCounty
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RE:       CauseNo.
          Cause   No.CC-16-00252-A;
                       CC-16-00252-A;RobertJohnson
                                     Robert    Johnson v. v. Walgreen
                                                          Walgreen Co.Co.  d/b/a
                                                                       d/b/a     Walgreens
                                                                             Walgreens Store Store
          #04459,etetal;
          #04459,     al;In County
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 Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                 Page 27 of 37 PageID 37           COUNTY CLERK
                                                                                                   DALLAS COUNTY




                                  CAUSE NO. CC-16-00252-A

 ROBERT JOHNSON,                                             IN THE COUNTY COURT AT LAW

      Plaintiff,

 V.
                                                                       DALLAS COUNTY, TEXAS
 WALGREEN CO. D/B/A WALGREENS
 STORE #04459; WALGREENS
 CORPORATION D/B/A WALGREENS
 STORE #04459; WALGREENS BOOTS
 ALLIANCE, INC.; SURFCOMBER
 DUNCANVILLE MANAGEMENT, L.L.C.;
 SURFCOMBER DUNCANVILLE
 ASSOCIATES, L.L.0 ,

      Defendants.                                              COUNTY COURT AT LAW NO. 1


                     PLAINTIFF'S DESIGNATION OF LEAD COUNSEL


TO THE HONORABLE JUDGE OF SAID COURT:

          COMES NOW, Plaintiff, Robert Johnson, and files this Designation of Lead Counsel.

Pursuant to Texas Rule of Civil Procedure 8, Plaintiff hereby gives notice of and designates that

Andrew A. Jones of Sawicki Law will act as lead counsel in this matter.

                                             Respectfully submitted,

                                             SA


                                                               NES
                                             Sta            4077910
                                             alones        kilawfirm.com
                                             MIC       L G. SAWICKI
                                             State Bar No. 17692500
                                             msawicki@sawickilawfirm com
                                             4040 N. Central Expressway, Ste. 850
                                             Dallas, Texas 75204
                                             (214) 468-8844
                                             (214) 468-8845 (Fax)

                                             ATTORNEYS FOR PLAINTIFF


PLAINTIFF'S DESIGNATION OF LEAD COUNSEL                                              PAGE 1 OF 1
                                                                                                                                                                                                                 FILED
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                           Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                                               Page 28 of 37 PageID 38                                                     COUNTY CLERK
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                                                                                                                                                                                                              COUNTY


                                                                                                                                                                        ATTORNEY
                                         STATE OF
                                     THE STATE OFTEXAS
                                                  TEXAS                                                                                                                 CITATION
                                         CITATION                                                                                                       PLAINTIFFS ORIGINAL
                                                                                                                                                        PLAINTIFFS
                                                                                                                                                       JURY DEMAND,
                                                                                                                                                       JURY
                                                                                                                                                                   ORIGINAL PETITION,
                                                                                                                                                             DEMAND, AND
                                                                                                                                                                            PETITION,
                                                                                                                                                                     AND REQUEST
                                                                                                                                                                          REQUESTFOR
                                                                                                                                                                                   FOR
                                       CAUSE NO.
                                       CAUSE  NO.CC-16-00252,A
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                                            COURTAT
                                     COUNTY COURT   ATLAWLAW NO.
                                                              NO.11                                                                                                   DISCOVERY
                                                                                                                                                             WRITTEN DISCOVERY
                                          DallasCounty,
                                          Dallas County,Texas
                                                         Texas                                                                                                       CC-16-00252-A
                                                                                                                                                                     CC-16-00252-A
TO:                                                                                                                                                        IN THE COUNTY
                                                                                                                                                                  COUNTY COURT
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                                                                                                                                                                                         DALLAS
         WALGREENSCORPORATION
         WALGREENS     CORPORATIONDBADBAWALGREENS
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                                                                                                                                                               ROBERTJOHNSON,
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         AUSTIN TX -78701-3218
                    -78701-3218
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       PLAINTIFFS ORIGINAL
                        ORIGINAL PETITION,
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                                                                                                                      of Dallas   of Dallas  County,
                                                                                                                                          Texas   at theTexas at the BOOTSALLIANCE
                                                                                                                                                                     BOOTS  ALLIANCE INC.;
                                                                                                                                                                                      INC.; SURFCOMBER
                                                                                                                                                                                            SURPCOMBER
        Court Houseofofsaid
        Court House        said  County,
                              County,  600600 Commerce
                                           Commerce    StreetStreet
                                                              Suite Suite   101, Dallas,
                                                                      101, Dallas,         Texas 75202.
                                                                                    Texas 75202.                                                                      DUNCANVILLE MANAGEMENT
                                                                                                                                                                      DUNCANVILLE   MANAGEMENT LLC;LLC;
                                                                                                                                                                  SURPCOMBERDUNCANVILLE
                                                                                                                                                                  SURPCOMBER    DUNCANVILLEASSOCIATES,
                                                                                                                                                                                                ASSOCIATES,
                                                                                                                                                                              LLC, Defendants)
                                                                                                                                                                                   Defendant(s)

                                                        ROBERT  JOHNSON
                                                        ROBERT JOHNSON                                                                                 SERVE:
                                                                                                                                                       SERVE:
                                                           Haindfirs)
                                                           Ptaindfirs)                                                                                   WALGREENSCORPORATION
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                                                         VS.                                                                                            SERVEITS
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                                                                                                                                                          HALL CORPORATION
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                                                                                                                                                                CORPORATION SYSTEM
      WALGREEN CO.CO.DBA
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                         WALGREENSSTORE
                                      STORE  #04459;
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      STORE #04459;  WALGREENS  BOOTS
                               BOOTS   ALLIANCE
                                     ALLIANCE     INC;
                                               INC.;   SURFCOMBER
                                                     SURFCOMBER   DUNCANVILLE
                                                                DUNCANVILLE   MANAGEMENT
                                                                            MANAGEMENT                                                                                     78701-3218
                                                                                                                                                              AUSTIN TX 78701-3218
                         LLC; SURFCOMBER   DUNCANVILLEASSOCIATES,
                              SURFCOMBER DUNCANVILLE      ASSOCIATES,LLC
                                                                      LLC
                                            Defendant(s)                                                                                                                ISSUED   THIS
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                                                                                                                                                                 JohnF.F.Warren,
                                                                                                                                                                 John     Warren,County
                                                                                                                                                                                  County  Clerk
                                                                                                                                                                                        Clerk
       WITNESS:  JOHNF.F.WARREN,
       WITNESS: JOHN      WARREN,Clerk
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                                                                                 January,        2016 AD.
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                                                                                                                                                                    Attorney  for Plaintiff
                                                                                                                                                                    Attorney for  Plaintiff
       JOHN F.WARREN,
       JOHN F. WARREN,Dallas
                       DallasCounty
                              County  Clerk
                                    Clerk                                                                                                                      MICHAEL GEORGE         SAWICKI
                                                                                                                                                                         GEORGE SAWICKI
                                                                                                                                                                     SAWICK LAW
    ditat //6161.6614-
 By gttitt                                                                                                                                                     4040NNCENTRAL
                                                                                                                                                               4040     CENTRALEXPWY   EXPWY
                       Deputy
                       Deputy                                                                                                                                           SUITE
                                                                                                                                                                        SUITE 850 850
           Guisla Hernandez
           Guisla Hernandez                                                                                                                                       DALLAS
                                                                                                                                                                  DALLAS TX    TX 75204
                                                                                                                                                                                    75204
                                                                                                                                                                       214-468-8844
                                                                                                                                                                       214-468-8844
  Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                                     Page 29 of 37 PageID 39



                                          AFFIDAVITOF
                                          AFFIDAVIT OFSERVICE
                                                       SERVICE

State of
State of Texas
         Texas                                Countyof
                                              County ofDallas
                                                       Dallas                                 Countyat
                                                                                              County atLaw
                                                                                                        LawNo.
                                                                                                            No.1 1Court
                                                                                                                   Court

Case Number: CC-S00252-A

Plainti f:
ROBERTJOHNSON
ROBERT JOHNSON
vs.
Defendant:
WALOREENCO.
WALOREEN  CO.
            [VEVA
               [VEVAWALOREENS
                        WALOREENS
                               STORE
                                  STORE
                                     #04469;
                                          #04469;
                                             WALGREENS
                                                  WALGREENS
CORPORATION DMA
CORPORATION   DMA  WALGREENS
                      WALGREENS
                              STORE
                                 STORE
                                    004458;
                                        004458;
                                            WALGREENS
                                                WALGREENS
BOOTSALLIANCE,
BOOTS ALLIANCE, INC.;
                  INC.;
                      SURFCOMBER
                        SURFCOMBER
                                 DUNCANVILLE
                                    DUNCANVILLE
MANAGEMENT,
MANAGEMENT, L.L.C,;
              L.L.C,;
                    SURFCOMBER
                       SURFCOMBER
                                DUNCANVILLE
                                   DUNCANVILLEASSOCIATES,
                                                   ASSOCIATES,
L.L.C,
For
gawicw lAW
4040 N. Central Expressway, Ste, 850
Dallas, TX 75204
Received by Alliance Litigation Support, Inc. on the 21st day of January, 2016 at 2:04 pm to be served on
WALGREENS CORPORATION
WALGREENS     CORPORATION    D/BIA
                                D/BIA
                                   WALGREENS
                                      WALGREENS  STORESTORE
                                                        604469604469
                                                                BY DELIVERING
                                                                      BY DELIVERING
                                                                                TO ITS REGISTERED
                                                                                         TO ITS REGISTERED
AGENT,THE
AGENT,  THEPRENTICE
             PRENTICE  HALL
                          HALLCORPORATION
                                 CORPORATION  SYSTEM,
                                                   SYSTEM,
                                                       INC., 211
                                                              INC.,
                                                                 E, 7TH
                                                                    211 E,
                                                                        STREET,
                                                                           7TH STREET,
                                                                                 SUITE 620,
                                                                                         SUITE   620, AUSTIN, TX
                                                                                            AUSTIN,           TX
78701,
I, CHRIS DATHE, being duly sworn, depose and say that on the
                           sworn, depose                 the 26th
                                                             26thday
                                                                  dayofofJanuary,
                                                                          January,2016
                                                                                   2016atat11:16
                                                                                            11:16am,
                                                                                                  am,1:1:

PERSONALLY
PERSONALLY         DELIVERED a true copy of a THE STATE
                DELIVERED                                  STATEOF OFTEXAS
                                                                       TEXAS CITATION;
                                                                                CITATION;  PLAINTIFF'S
                                                                                               PLAINTIFF'S
                                                                                                        ORIGINAL
                                                                                                             ORIGINAL
PETITION, JURY
PETITION,      JURY DEMAND,
                      DEMAND,  AND
                                 ANDREQUEST
                                       REQUEST  FORFORWRITTEN
                                                           WRITTEN
                                                                 DISCOVERY;
                                                                       DISCOVERY;
                                                                                PLAINTIFF'S
                                                                                         PLAINTIFF'S
                                                                                               FIRST SETFIRST
                                                                                                          OF SET OF
INTERROGATORIES
INTERROGATORIES        TOTODEFENDANT
                              DEFENDANT  WALOREEN
                                              WALOREEN   CO.; PLAINTIFF'S
                                                               CO.; PLAINTIFF'S
                                                                            FIRST SETFIRST
                                                                                         OF INTERROGATORIES
                                                                                             SET OF INTERROGATORIES
TO DEFENDANT
TO   DEFENDANTWALOREENS
                      WALOREENS   CORP.;
                                     CORP.;
                                          PLAINTIFF'S
                                               PLAINTIFF'S FIRSTFIRST
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                                                                          INTERROGATORIES
                                                                             OF INTERROGATORIES   TO DEFENDANT
                                                                                                          TO DEFENDANT
WALGREENS
WALGREENS       BOOTS;
                  BOOTS; PLAINTIFFS
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                                                          OF INTERROGATORIES  TO DEFENDANT
                                                                                        TO DEFENDANT
                                                                                                   SURPCOMBER
                                                                                                           SURPCOMBER
MANAGEMENT;
MANAGEMENT;        PLAINTIFF'S
                      PLAINTIFF'SFIRST
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                                             OF INTERROGATORIES
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                                                                                                     SURFCOMBER
ASSOCIATES; PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO                       TO DEFENDANT
                                                                                   DEFENDANTWALGREENWALGREEN   CO.;
                                                                                                                  CO.;
PLAINTIFF'SFIRST
PLAINTIFF'S      FIRST REQUEST
                         REQUEST FOR FOR
                                      PRODUCTION
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                                                              TO DEFENDANT WALGREEN
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                                                                                                  PLAINTIFF'S
                                                                                                          PLAINTIFF'S
FIRSTREQUEST
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                                                 DEFENDANT   WALGREENS
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REQUESTFOR
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REQUESTFOR
REQUEST       FORPRODUCTION
                    PRODUCTION   TOTODEFENDANT
                                         DEFENDANT    SURFCOMBER
                                                          SURFCOMBER   ASSOCIATES;
                                                                            ASSOCIATES;PLAINTIFF'S
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                                                                                                      FIRST FIRST
REQUESTFOR
REQUEST       FORADMISSIONS
                    ADMISSIONS  TOTODEFENDANT
                                       DEFENDANT    WALGREEN
                                                         WALGREEN CO.; PLAINTIFF'S
                                                                        CO.; PLAINTIFF'S
                                                                                       FIRST REQUEST
                                                                                                FIRST REQUEST
                                                                                                         FOR      FOR
ADMISSIONSTO
ADMISSIONS       TO DEFENDANT
                      DEFENDANT   WALGREENS
                                     WALGREENS   CORP.;CORP.;
                                                           PLAINTIFF'S
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                                                                                                                TO       TO
DEFENDANTWALGREENS
DEFENDANT        WALGREENS     BOOTS;
                                 BOOTS;PLAINTIFFS
                                            PLAINTIFFS FIRSTFIRST
                                                              REQUEST
                                                                    REQUEST
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                                                                                 FOR ADMISSIONSTO DEFENDANT
                                                                                                        TO DEFENDANT
SURFCOMBERMANAGEMENT;
SURFCOMBER         MANAGEMENT;     PLAINTIFFS
                                       PLAINTIFFS FIRST FIRST
                                                          REQUEST
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                                                                     FOR ADMISSIONS
                                                                            FOR ADMISSIONS TO DEFENDANT
                                                                                                    TO DEFENDANT
SURFCOMBERASSOCIATES
SURFCOMBER           ASSOCIATES  withwith
                                      the date
                                          the date
                                                of service
                                                     of service endorsed thereon by me,
                                                            endorsed                     me, to: SUE
                                                                                                  SUE VERTREES,
                                                                                                       VERTREES,
DESIGNATEDAGENT
DESIGNATED        AGENT  FOR
                           FORTHE
                                THEPRENTICE-HALL
                                      PRENTICE-HALL     CORPORATION
                                                             CORPORATION SYSTEM,SYSTEM,
                                                                                   INC. AS THE
                                                                                             INC.REGISTERED
                                                                                                   AS THE REGISTERED
AGENT FOR WALGREENS
                WALGREENS      CORPORATION
                                CORPORATION     DiErADiErA
                                                        WALGREENS
                                                             WALGREENS STORESTORE #04450 at the address of 211 E.       E.
7TH STREET,
7TH   STREET,SUITESUITE 820,
                          820,
                             AUSTIN,
                               AUSTIN,TX TX
                                          78701
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                                                 and and
                                                       Informed
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with  statestatutes,
            statutes,
 Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                                                     Page 30 of 37 PageID 40



                             AFFIDAVIT OF SERVICE for CO016.00252.A
I certify
  certify that
           that IIam
                   am approved
                       approved by the Supreme
                                          Supremecourt courtofofTexas,
                                                                Texas,Misc.
                                                                          Misc.Docket
                                                                                 DocketNo,
                                                                                         No,  05-9122
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                                                                          CHRIS DATHE
                                                                                DATHE
Subscribed  andSworn
Subscribed and  Sworntotobefore  meononthethe Vet` day
                          beforeme                                        SCH 5008
                                                                              5008EXP,
                                                                                   EXP,12/31/18
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           known lb me.
personally known    me.                                                  Alliance Litigation
                                                                                  Litigation Support,
                                                                                              Support, Inc.
                                                                                                       Inc.
                                                                         309 S.
                                                                         309  S.Kealy
                                                                                 KealyStreet
                                                                                       Street
                     C1)14,--
                     C1)14,--                                                           15007
                                                                         Lewisville, 7X 15007
NOTARY PUBLIC
NOTARY PUBLIC                                                            (972) 221.017
                                                                         (972)  221.017
                                             1.111S440.4Ali4A1A.1.1


                                       CECILIADATHE
                                       CECILIA DATHE                      Our     Serial Number:
                                                                          Our Job Serial Number: DAH-2018000115
                                                                                                 DAH-2018000115
                                    My Commission
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                                     sQptember 27,2017
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                                                                                                                                                                                         JOHN F.F.WARREN
                                                                                                                                                                                         JOHN     WARREN
                          Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                                        Page 31 of 37 PageID 41                                                 -COUNTYCLERK
                                                                                                                                                                                          COUNTY    CLERK
                                                                                                                                                                                          DALLAS COUNTY

                                                                                                                                                                ATTORNEY
                                                                                                                                                                ATTORNEY
                                  TITF,STATE
                                  THE   STATEOF
                                              OFTEXAS
                                                 TEXAS                                                                                                  CITATION
                                       CITATION                                                                                                PLAINTIFF'S ORIGINAL
                                                                                                                                               PLAINTIFF'S ORIGINAL PETITION
                                                                                                                                                                    PETITION, ,
                                                                                                                                               JURY DEMAND,
                                                                                                                                               JURY DEMAND, AND
                                                                                                                                                             AND REQUEST
                                                                                                                                                                  REQUESTFOR
                                                                                                                                                                           FOR
                                    CAUSENO.
                                    CAUSE  NO.CC-16-00252-A
                                               CC-16-00252-A                                                                                         WRITTEN DISCOVERY
                                                                                                                                                    WRITTEN   DISCOVERY
                                  COUNTY COURT
                                  COUNTY  COURTAT ATLAW
                                                      LAW NO.
                                                           NO.11
                                       DallasCounty,
                                       Dallas County,Texas
                                                      Texas                                                                                            CC-I6-00252-A
                                                                                                                                                       CC-I6-00252-A

TO:
TO:                                                                                                                                                    COUNTY COURT
                                                                                                                                                IN THE COUNTY  COURTOF    OFDALLAS
                                                                                                                                                                              DALLAS
                                                                                                                                                      CountyCourt
                                                                                                                                                      County CourtatatLaw
                                                                                                                                                                       LawNo.
                                                                                                                                                                           No.I I
        WALGREEN CO.
        WALGREEN     CO.DBA
                         DBAWALGREENS
                              WALGREENSSTORE
                                        STORE  404459
                                             404459
                                                                                                                                                      DallasCounty,
                                                                                                                                                      Dallas  County,TexasTexas
        SERVEITS
        SERVE   ITSREGISTERED
                    REGISTERED   AGENT
                               AGENT
        PRENTICEHALL
        PRENTICE    HALL CORPORATION
                         CORPORATIONSYSTEM
                                       SYSTEM
        211 EE7TH
        211    7THST
                   STSTE
                      STE620
                           620                                                                                                                     ROBERTJOHNSON,
                                                                                                                                                   ROBERT JOHNSON,Plaint'
                                                                                                                                                                  Plaint' (s)
                                                                                                                                                                          (s)
                    78701-3218
        AUSTIN TX 78701-3218                                                                                                                                           VS.
                                                                                                                                                                       VS.
                                                                                                      havebeen
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                                                                                                                     sued.YouYoumaymay   employ
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      anattorney.
      an attorney.IfIfyou
                       youororyour
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                                    Attorney do donotnot
                                                      file file a WRITTEN
                                                            a WRITTEN           ANSWER
                                                                            ANSWER       withwith  the clerk
                                                                                              the clerk       who issued
                                                                                                        who issued            this citation
                                                                                                                      this citation by 10:00by 10:00WALGREEN
                                                                                                                                                    WALGREENCO_
                                                                                                                                                              co_ DBA
                                                                                                                                                                   DBA WALGREENS
                                                                                                                                                                         WALGREENSSTORE
                                                                                                                                                                                      STORE
           on the
      A.M. on  theMonday
                    Mondaynext next  following
                                   following  thethe expiration
                                                   expiration       of twenty
                                                                of twenty   daysdays
                                                                                  after after you served
                                                                                        you were   were served    this citation
                                                                                                          this citation  and PLAINTIFF'S            #04459;WALGREENS
                                                                                                                                   and PLAINTIFF'S#04459;  WALGREENSCORPORATIONDEA
                                                                                                                                                                          CORPORATION DBA
                    PETITION ,, JURY
      ORIGINAL PETITION           JURYDEMAND,
                                          DEMAND,AND     ANDREQUEST
                                                                 REQUESTFOR     FOR   WRITTEN
                                                                                    WRITTEN         DISCOVERY,
                                                                                                 DISCOVERY,           a default
                                                                                                                  a default       judgment
                                                                                                                             judgment               WALGREENSSTORE
                                                                                                                                        may may WALGREENS       STORE#04459;
                                                                                                                                                                          #04459; WALGREENS
                                                                                                                                                                                WALGREENS
                                                                                                                                                     BOOTSALLIANCE
                                                                                                                                                            ALLIANCE INC.;
                                                                                                                                                                        INC.; SURFCOMBER
                                                                                                                                                                              SURFCOMBER
      betaken
      be takenagainst
                 against  you."
                        you."     Your
                               Your      answer
                                      answer shouldshould     be addressed
                                                       be addressed             to the
                                                                        to the clerk  of clerk
                                                                                         Countyof Court
                                                                                                  County   CourtNo.
                                                                                                        at Law     at 1Law           of Dallas County,BOOTS
                                                                                                                             No. 1County,
                                                                                                                         of Dallas                     DUNCANVII TT FF MANAGEMENT? ir-Tr-
      Texasatatthe
      Texas      theCourt
                      Court  House
                          House       of said
                                  of said      County,
                                          County,         600 Commerce
                                                    600 Commerce         Street,Street,   Suite
                                                                                 Suite 101,     101,Texas
                                                                                             Dallas,  Dallas,  Texas 75202.
                                                                                                            75202.                                 SURFCOMBERDUNCANVILLE
                                                                                                                                                   SURFCOMBER   DUNCANVILLEASSOCIATES,
                                                                                                                                                                                  ASSOCIATES,
                                                                                                                                                               LLC,Defendeurt(s)
                                                                                                                                                              LLC,Defendeurt(s)

                                                                                                                                            SERVE:
                                                                                                                                            SERVE:
                                                  ROBERTJOHNSON
                                                  ROBERT   JOHNSON                                                                           WALGREEN CO.
                                                                                                                                             WALGREEN   CO.DBA
                                                                                                                                                            DBAWALGREENS
                                                                                                                                                                  WALGREENSSTORE
                                                                                                                                                                               STORE
                                                     Plain nff(s)
                                                     Plain tiffs)                                                                                             #04459
                                                                                                                                                              #04459
                                                                                                                                                 SERVEITS
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                                                                                                                                                            REGISTEREDAGENTAGENT
                                                                                                                                             PRENTICEHALL
                                                                                                                                             PRENTICE  HALL CORPORATION
                                                                                                                                                             CORPORATIONSYSTEMSYSTEM
                                                           VS.
                                                           VS.                                                                                        211 EETiff
                                                                                                                                                      211   7THSTSTSTE
                                                                                                                                                                     STE620
                                                                                                                                                                          620
                                                                                                                                                                 78701-3218
                                                                                                                                                     AUSTIN Tx 78701-3218
       WALGREEN CO.
       WALGREEN       CO.DBA  DBAWALGREENS
                                   WALGREENSSTORE    STORE    404459;
                                                            404459;     WALGREENS
                                                                     WALGREENS          CORPORATION
                                                                                   CORPORATION           DBADBA
          WALGREENSSTORE
          WALGREENS        STORE#04459;
                                      #04459;    WALGREENS
                                              WALGREENS         BOOTS
                                                             BOOTS        ALLIANCE
                                                                      ALLIANCE        INC.;
                                                                                  INC.;       SURFCOMBER
                                                                                         SURFCOMBER                                                         ISSUEDTHIS
                                                                                                                                                            ISSUED    THIS
      DUNCANVILLE MANAGEMENT
      DUNCANVILLE         MANAGEMENT LLC;      LLC; SURFCOMBER        DUNCANVILLE ASSOCIATES,
                                                    SURFCOMBER DUNCANVILLE              ASSOCIATES,LLC      LLC                                        20thday
                                                                                                                                                       20th dayofofJanuary,
                                                                                                                                                                    January,  2016
                                                                                                                                                                            2016
                                                     Defendant(s)
                                                                                                                                                    JohnF.F.Warren,
                                                                                                                                                    John     Warren, County
                                                                                                                                                                    County   Clerk
                                                                                                                                                                           Clerk
               saidCourt
      filed in said Courtononthe
                               the 19th
                                 19th dayday  of January,
                                          of January,     2016a
                                                      2016a copy copy of which
                                                                 of which      accompanies
                                                                          accompanies           this citation.
                                                                                      this citation.                                                By: Guisla
                                                                                                                                                        GuislaHernandez;
                                                                                                                                                               Hernandez,  Deputy
                                                                                                                                                                         Deputy
      WITNESS:JOHN
      WITNESS: JOHNF.F.WARREN,
                        WARREN,Clerk
                                   Clerk
                                       of of
                                           thethe County
                                               County     Courts
                                                       Courts       of Dallas
                                                              of Dallas        County,
                                                                         County,  Texas.Texas.
                                                                                          GIVENGIVEN  UNDER
                                                                                                  UNDER MY MY                                          Attorney for
                                                                                                                                                       Attorney  forPlaintiff
                                                                                                                                                                    Plaintiff
      HAND AND SEAL OF
                    OF OFFICE,
                        OFFICE,atatDallas,
                                    Dallas,   Texas,
                                           Texas, andand  issued
                                                      issued       this day
                                                             this 20th  20thofday of January,
                                                                               January,       2016 A.D.
                                                                                        2016 A.D.
                                                                                                                                                   MICHAEL GEORGE       SAWICKI
                                                                                                                                                             GEORGE SAWICKI
      JOHNF.
      JOHN F.WARREN,
             WARREN,Dallas
                     DallasCounty
                            County  Clerk
                                  Clerk                                                                                                                  SAWICK LAW
                                                                                                                                                    4040NNCENTRAL
                                                                                                                                                    4040    CENTRALEXPWYEXPWY
                                                                                                                                                            SUITE 850
                                                                                                                                                            SUITE   850

      By
           gi,44 ;9—fe
           L44           a_ ..Deputy
                 794wrisdeej--
                               Deputy
                                                                                                                                                       DALLAS TX 75204
                                                                                                                                                                     75204
                                                                                                                                                           214-468-8844
                                                                                                                                                          214-468-8844
                GuislaHernandez
                Guisla Hernandez

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  Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16                           Page 32 of 37 PageID 42



                                       AFFIDAVIT OF SERVICE

State of Texas                           County of Dallas                           County at La No. 1 Court

Case Number: CC-18-00252a



ROBERT JOHNSON
vs.
Defendant.
WALGREEN CO. MIA WALGREENS STORE #04489; WALGREENS
CORPORATION CIE/A WALGREENS STORE #04459; WALGREENS
SOOTS ALLIANCE, INC.; SURFCOMBER DUNCANVILLE
MANAGEMENT, L.L.C.; SURFCOMBER DUNCANVILLE ASSOCIATES,


For.
SAWICKI LAW
4040 N. Central Expressway. Ste. 850
Dallas, TX 75204

Received by Alliance Litigation Support, Inc. on the 21st day of January, 2016 at 2:04 prn to be served on
WALGREENS CO. DIWA WALGREENS STORE #04459 BY DELIVERING TO ITS REGISTERED AGENT, THE
PRENTICE-HALL CORPORATION SYSTEM, INC., 211 E. 7TH STREET, SUITE 820, AUSTIN, TX 78701,

I, CHRIS DATHE, being duly sworn, depose and say that on The 26th day of January, 2016 at 11:15 am, I;

PERSONALLY DELIVERED a true copy of a THE. STATE OF TEXAS CITATION; PLAINTIFF'S ORIGINAL
PETITION, JURY DEMAND, AND REQUEST FOR WRITTEN DISCOVERY; PLAINTIFF'S FIRST SET OF
INTERROGATORIES TO DEFENDANT WALGREEN CO.; PLAINTIFF'S FIRST SET OF INTERROGATORIES
TO DEFENDANT WALGREENS CORP.; PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT
WALGREENS 8100711; PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT SURFCOMBER
MANAGEMENT; PLAINTIFF'S FIRST SET OF INTERROGATORIES TO DEFENDANT SURFCOMBER
ASSOCIATES; PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT WALGREEN CO.;
PLAINTIFF'S FIRST REQUEST FOR PRODUCTION TO DEFENDANT WALGREEN CORP.; PLAINTIFF'S
FIRST REQUEST FOR PRODUCTION TO DEFENDANT WALGREENS BOOTS; PLAINTIFF'S FIRST
REQUEST FOR PRODUCTION TO DEFENDANT SURFCOMBER MANAGEMENT; PLAINTIFF'S FIRST
REQUEST FOR PRODUCTION TO DEFENDANT SURFCOMBER ASSOCIATES; PLAINTIFF'S FIRST
REQUEST FOR ADMISSIONS TO DEFENDANT WALGREEN CO.; PLAINTIFF'S FIRST REQUEST FOR
ADMISSIONS TO DEFENDANT WALGREENS CORP.; PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO
DEFENDANT WALGREENS BOOTS; PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEFENDANT
SURFCOMBER MANAGEMENT; PLAINTIFF'S FIRST REQUEST FOR ADMISSIONS TO DEPENDANT
SURFCOMBER ASSOCIATES with the date of service endorsed thereon by me, to. SUE VERTREES,
DESIGNATED AGENT FOR THE PRENTICE-HALL CORPORATION SYSTEM, INC, AS THE REGISTERED
AGENT FOR WALGREENS CO. Dff3/A WALGREENS STORE #04488 at the address of: 211 E. 7TH
STREET, SUITE 820, AUSTIN, TX 78701 and informed said person of the contents therein, In compliance with
state statutes.
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                           AFFIDAVIT OF SERVICE for CC-16-00252-A
I certify that 1 am approved by the Suprema Court of Texas, Misc. Docket No, 08-9122 under rule 103 and 636(a) of
the TROP to deliver citations and other notices from any District, County and Jutitice Courts in and for the State of
Texas. I am not less than 18 yearn of age, I am not a party to the above-referenced cause. I have personal
knowledge of the facto and statements contained in this affidavit end each Is true and correct. I'am not Interested In
the outcome of the above-referenced cause




                                                                             CHRIS DATHE
Subscribed and Sworn to before me on the L6" day                             SCH 6008   EXP, 12131118
of    :V4pAusNyv         RD by the afflant who Is
personally known td me,                                                      Alliance Litigation Support, Inc.
                                                                             309 S. Rattly Street
                                                                             Lewisville, TX 76057
NOTARY PUBLIC                                                                (972) 221.4017
                            •


                                    CECILIA DATHE                            Our Job Serial Number. DAH-2016000116
                                    CommissionExpires
                                  y Commission   Expires
                                  Soptember  27,
                                  Soptember 27,   2017
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                                                                                                    JOHN F. WARREN
     Case 3:16-cv-00400-K Document 1-3 Filed 02/12/16              Page 34 of 37 PageID 44            COUNTY CLERK
                                                                                                     DALLAS COUNTY



                                   CAUSE NO. CC-16-00252-A

ROBERT JOHNSON,                                 §                    IN THE COUNTY COURT
                                                §
        Plaintiff,                              §
                                                §
v.                                              §
                                                §
WALGREEN CO. D/B/A WALGREENS                    §
STORE #04459; WALGREENS                         §
CORPORATION D/B/A WALGREENS                     §                                AT LAW NO. 1
STORE #04459; WALGREENS BOOTS                   §
ALLIANCE, INC.; SURFCOMBER                      §
DUNCANVILLE MANAGEMENT,                         §
L.L.C.; SURFCOMBER                              §
DUNCANVILLE ASSOCIATES, L.L.C.,                 §
                                                §
         Defendants.                            §                  DALLAS COUNTY, TEXAS

                                DEFENDANTS’ ORIGINAL ANSWER

        COMES NOW, Walgreen Co. D/B/A Walgreens Store #04459 and Walgreens

Corporation D/B/A Walgreens Store #04459 (herein “Defendants”), and files their Original

Answer to Plaintiff’s Original Petition, and would respectfully show the Court the following:

                                            I.
                                      GENERAL DENIAL

        Defendants generally deny, each and every, all and singular, the material allegations

contained in Plaintiff’s Original Petition and any amendment thereto, and demands strict proof

thereof at the time of trial.

                                            II.
                                   AFFIRMATIVE DEFENSES

        1.      Pleading in the alternative, without waiver of the foregoing, Defendants assert the

following affirmative defenses:




DEFENDANTS’ ORIGINAL ANSWER                                                                PAGE 1
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                                      Contributory Negligence

         2.     Plaintiff’s claims are barred as a result of Plaintiff’s own negligence, which

contributed in whole or in part to his alleged damages. Alternatively, Plaintiff’s recovery, if any,

should be reduced by the percentage of Plaintiff’s contributory negligence.

                Plaintiff’s Alleged Damages Caused by Responsible Third Party

         3.     The damages alleged by Plaintiff were caused, solely or partially, or proximately

caused by some person or third party for whom Defendants are not legally responsible.

                                    Proportionate Responsibility

         4.     This action is subject to the proportionate responsibility provisions of Chapter 33

of the   TEX. CIV. PRAC.   & REM. CODE, including (without limitation) the requirement of §33.003

thereof that the trier of fact determine the relative responsibility of each claimant, defendant,

settling person and responsible third-party who may be joined in the suit.

                                         Intervening Cause

         5.     Plaintiff’s alleged damages resulted from new and independent, unforeseeable,

superseding and/or intervening causes unrelated to any conduct of Defendants.

                  Paid or Incurred - Civil Practice & Remedies Code Section 41.0105

         6.     Pursuant to TEX. CIV. PRAC. & REM. CODE Section 41.0105, Defendants assert that

recovery of the medical healthcare expenses incurred by Plaintiff is limited to the amount

actually paid by or on Plaintiff’s behalf, and that this is the only amount that should be submitted

to the jury.

         7.     Plaintiff is not entitled to recover medical charges that a provider is not entitled to

be paid, and as such, evidence of such charges are irrelevant to the issue of damages. Thus, only

evidence of recoverable medical expenses is admissible at trial. See generally Haygood v. De

Escabedo, 356 S.W.3d 390 (Tex. 2011).

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                                        Failure to Mitigate

        8.      The damages, if any, recoverable by Plaintiff must be reduced by any amount of

damages legally caused by the Plaintiff’s failure to mitigate such damages in whole or in part.

                                              Payment

        9.      Plaintiff’s recovery, if any, should be reduced by the amount of the payments

Plaintiff has received to compensate him for his alleged damages, if any.

                             Civil Practice & Remedies Code Section 18.091

        10.     To the extent same becomes applicable and necessary in this case, Defendants

invoke the evidentiary requirements as set forth in Section 18.091 of the TEX. CIV. PRAC. & REM.

CODE   regarding all damages that fall within the scope of this provision.

                                            III.
                                     PRAYER FOR RELIEF

        WHEREFORE PREMISES CONSIDERED, Defendants pray that Plaintiff’s Original

Petition be dismissed with prejudice, that the relief requested by the Plaintiff be denied, and that

all costs be taxed against Plaintiff. Additionally, Defendants pray for such other and further

relief, either at law or in equity, special or general, to which they may be deemed justly entitled.




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                                            Respectfully submitted,

                                            FOX ROTHSCHILD LLP


                                            By:   -2/)A,(1;,-aA,v,)
                                                    Mark A. Goodman
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                                                    mark.goodman@foxrothschild.com
                                                    K. Patrick Babb
                                                    State Bar No. 24077060
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                                            5420 LBJ Freeway, Suite 1200
                                            Dallas, Texas 75240
                                            (972) 991-0889
                                            (972) 404-0516 – Fax
                                            ATTORNEYS FOR DEFENDANTS


                              CERTIFICATE OF SERVICE

       I certify that on this the 5th day of February 2016, a true and correct copy of the
foregoing document was served on the following counsel of record in accordance with the Texas
Rules of Civil Procedure:

Michael G. Sawicki                                                           Via E-service
Andrew A. Jones
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Attorneys for Plaintiff




                                                   Mark A. Goodman




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